 4:05-cr-03031-RGK-DLP        Doc # 63     Filed: 03/16/06    Page 1 of 1 - Page ID # 307




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            4:05CR3031-2
                                             )
              Plaintiff,                     )
                                             )
vs.                                          )            ORDER
                                             )
MARIA DE LOS ANJELES MENDEZ,                 )
                                             )
              Defendant.                     )

       IT IS ORDERED that:

       (1)    The defendant’s motion to continue trial (filing 62) is granted;

       (2)     Trial of this case as to Defendant Mendez is continued to 9:00 a.m., Monday,
May 15, 2006, before the undersigned United States district judge, in Lincoln, Nebraska.
Since this is a criminal case, the defendant shall be present unless excused by the court.

      (3)    The time between today’s date and the new trial date is excluded under the
Speedy Trial Act and in the interest of justice. See 18 U.S.C. § 3161(h)(1)(I)& (h)(8)(A)(B).

       March 16, 2006.                            BY THE COURT:

                                                  s/ Richard G. Kopf
                                                  United States District Judge
